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                                                  Texas Franchise Tax Public Information Report
                   05-102                   To be filed by Corporations, Limited Liability Companies (LLC) and Financial Institutions
                   (Rev.9-11/30)               This report MUST be signed and filed to satisfy franchise tax requirements
                   ■ Tcode      13196 Franchise
■ Taxpayer number                                                            ~■-R_e....;p~o_rt""'y'"'e_a_r~-~ You have certain rights under Chapter 552 and 559, Government Code,
                                                                                                          to review, request, and correct information we have on file about you.
    3 2 0 6 7 6 3 7 9                                     6 0                    2       0 2 2            Contact us at (800) 252-138/or (512) 463-4600.
Taxpayer name
                     MEANDERING BEND, LLC
Mailing address                                                                                                                                  Secretary of State (SOS) file number or
1-=------1_0_0_1_W_E_S_T_L_O_O_P_S_S_T_E~7~0_0_______~=~~--~~--------lcomptroller file number
City                                                        State                                   ZIP Code             Plus 4
                         HOUSTON                                            TX                           77027                                                0803054599
Q         Blacken circle if there are currently no changes from previous year; if no information is displayed, complete the applicable information in Sections A, Band C.
Principal office

Principal place of business


              ,     I. ,,I~     Officer, director and manager information is reported as of the date a Public Information
f'UIIII I/Ill tllul/11/         Report is completed. The information is updated annually as part of the franchise tax
-                        -      report. There is no requirement or procedure for supplementing the information as
                                officers, directors, or managers change throughout the year.
SECTION A         Name, title and mailing address of each officer, director or manager.                                                                   3206763796022
Name                                                              Title                                                  Director                         m       m       d       d       y       y

    ALI CHOUDHRI                                                                         MANAGER                         Q YES            Term
                                                                                                                                          expiration
                                                                                                                                                     I
                                                                                                                                                              I       I       I       I       I
Mailing address                                                          City                                                            State                       ZIP Code
    1001 WEST LOOPS. SUITE 700                                                                    HOUSTON                                           TX              I     77027
Name                                                                     Title                                           Director                         m       m    d    d y                   y

                                                                                                                         Q YES            Term
                                                                                                                                          expiration
                                                                                                                                                     I
                                                                                                                                                              I       I       I       I       I
Mailing address                                                          City                                                            State                        IZIP Code

Name                                                                     Title                                           Director                         m       m       d       d       y       y

                                                                                                                         Q YES            Term
                                                                                                                                          expiration
                                                                                                                                                     I
                                                                                                                                                              I       I       I       I       I
Mailing address                                                          City                                                            State                        IZIP Code

SECTION B Enter the information required for each corporation or LLC, if any, in which this entity owns an interest of 1O percent or more.
Name of owned (subsidiary) corporation or limited liability company                          State of formation              Texas SOS file number, if any Percentage of ownership

Name of owned (subsidiary) corporation or limited liability company                          State of formation              Texas SOS file number, if any Percentage of ownership


SECTION C         Enter the information required for each corporation or LLC, if any, that owns an interest of 1O percent or more in this entity or limited
                  liability company.
Name of owned (parent) corporation or limited liability company                          IState of formation                 ITexas SOS file number, if anylPercentage of ownership


Registered agent and registered office currently on file. (see instructions if you need to make changes)                          Blacken circle if you need forms to change
Agent:      LEGAL REGISTERED AGENT SERVICES                                                                              0        the registered agent or registered office information.
                                                                                                                                                     st
Office:     5900 BALCONES DRIVE, SUITE 100                                                                          AUSTIN                          l ate TX              IZIP c7~731

The above information is required by Section 171.203 of the Tax Code for each corporation or limited liability company that files a Texas Franchise Tax Report. Use additional sheets
for Sections A, B, and C, if necessary. The information will be available for public inspection.
I declare that the information in this document and any attachments is true and correct to the best of my knowledge and belief, as of the date below, and that a copy of this report has
been mailed to each person named in this report who is an officer, director or manager and who is not currently employed by this, or a related, corporation or limited liability company.

sign ►                                                                               Title                            pate                               Area code and phone number
here        Ali Choudhri                                                             r         Electronic            I        03-08-2022                I( 832 ) 280 - 5837
                                                                    Texas Comptroller Official Use Only

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              EX. CCC
